          Case 2:23-bk-10990-SK                  Doc 304 Filed 08/28/23 Entered 08/28/23 16:44:02                                         Desc
                                                  Main Document     Page 1 of 6

 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &       FOR COURT USE ONLY
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 John Lucas (CA State Bar No. 271038)
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      Individual appearing without attorney
      Attorney for: [Proposed] Counsel to Bradley D. Sharp,
Chapter 11 Trustee
                                             UNITED STATES BANKRUPTCY COURT
                                        CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES

 In re:                                                                       CASE NO.: 2:23-bk-10990-SK

 LESLIE KLEIN,                                                                CHAPTER: 11




                                                                                         APPLICATION FOR ORDER SETTING
                                                                                         HEARING ON SHORTENED NOTICE
                                                                                                  [LBR 9075-1(b)]

                                                               Debtor.


1. Movant applies under LBR 9075-1(b) for an order setting a hearing on shortened notice on the following motion:
                                Motion of Chapter 11 Trustee, for Order Enforcing the Automatic Stay Against the Menlo Trust
    a. Title of motion:         and Related Relief [Docket No. 303]

    b. Date of filing of motion: August 28, 2023

2. Compliance with LBR 9075-1(b)(2)(A): (The following three sections must be completed):

    a. Briefly specify the relief requested in the motion:

                    Numerous adversary proceedings now pending before this Court seek exceptions to the Debtor’s
                    discharge. The complaints document the Debtor utilizing the Les Klein & Associates, Inc. (the “Law
                    Firm”) trust account to receive and divert trust funds into “one big pot” of commingled funds among the
                    Debtor’s numerous clients. Similarly, issues are implicated with the Debtor failing to segregate his
                    personal funds or funds of the Law Firm. Given the findings and allegations, the Trustee is concerned
                    that commingled funds were utilized to pay the premiums of insurance policies and specifically that held
                    in the name of one creditor, the Menlo Trust.

                    The Menlo Trust is one victim among a myriad of victims. Rather than respect the automatic stay in place
                    as a matter of law, the Menlo Trust has imposed its will in a Superior Court proceeding to push itself
                    ahead of other estate creditors in the exact manner the Bankruptcy Court repudiated when considering
                    whether to dismiss this chapter 11 case. In the Superior Court proceeding, the Menlo Trust trustees have
                    urged the judge to issue an order on August 30, 2023, at 1:30 pm to distribute six million dollars
                    ($6,000,000.00) of life insurance policy proceeds acquired pre-petition (using commingled funds) which
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December 2012                                                             Page 1                       F 9075-1.1.APP.SHORT.NOTICE
         Case 2:23-bk-10990-SK                     Doc 304 Filed 08/28/23 Entered 08/28/23 16:44:02                                         Desc
                                                    Main Document     Page 2 of 6

                     the Menlo Trust beneficiaries claim as their separate property and that legally, under 9th Circuit law, are
                     presumptively property of the Debtor’s estate. In exercising his statutory duties, the Trustee requested
                     documents from the trustees of the Menlo Trust to document the separate nature of the life insurance
                     policies. While professing to cooperate with the Trustee, the Menlo Trust has produced no policy-related
                     documents to the Trustee.

                     Granting the Motion is necessary to protect the rights of all creditors of the Debtor’s estate, to prevent
                     piecemeal litigation in various non-bankruptcy courts, and to avoid the unnecessary depletion of estate
                     resources.

    b. Identify the parties affected by the relief requested in the motion:

         Co-Trustees of the Franklin Henry Menlo Irrevocable Trust Established March 1, 1983
         Leslie Klein

    c.   State the reasons necessitating a hearing on shortened time:

         The Trustee requests to have the hearing on the Motion held on September 6, 2023 at 9:00 a.m., given the
         matters set for hearing on that date and time (including matters relating to the Menlo Trust), as follows:

         (1)        Debtor’s Motion to Set Aside Default [Docket.No. 24; Menlo v. Klein Adversary Proceeding No. 23-
                    01152];
         (2)        Status Conference – Menlo v. Klein Adversary Proceeding No. 23-01152
         (3)        Status Conference – Klein v. Vago Adversary Proceeding No. 23-01147
         (4)        Status Conference (lead case)
         (5)        Chapter 11 Trustee’s Application To Employ Pachulski Stang Ziehl & Jones LLP As General Bankruptcy
                    Counsel Effective May 23, 2023 [Docket No. 177]; and
         (6)        First and Final Application for Compensation and Reimbursement of Expenses of Michael Jay Berger
                    [Docket No. 181]

         In the interest of economy, and in order to avoid further confusion, the Trustee believes it is in the best interests of
         the estate to have the hearing on the Motion held on September 6, 2023 at the same time the above-listed
         matters are set to be heard.

3. Compliance with LBR 9075-1(b)(2)(B): The attached declaration(s) justifies setting a hearing on shortened notice, and
   establishes a prima facie basis for the granting of the motion.

 4. Movant has lodged a proposed Order Setting Hearing on Shortened Notice on mandatory form F 9075-1.1.ORDER
    .SHORT.NOTICE
3. Compliance with LBR 9075-1(b)(2)(B): The attached declaration(s) justifies setting a hearing on shortened notice, and
   establishes a prima facie basis for the granting of the motion.

4. Movant has lodged a proposed Order Setting Hearing on Shortened Notice on mandatory form F 9075-1.1.ORDER
   .SHORT.NOTICE

Date: August 28, 2023                                                               Pachulski Stang Ziehl & Jones LLP
                                                                                    Printed name of law firm
                                                                                    /s/ Jeffrey P. Nolan
                                                                                    Signature of individual Movant or attorney for Movant

                                                                                    Jeffrey P. Nolan
                                                                                    Printed name of individual Movant or attorney for Movant




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December 2012                                                             Page 2                         F 9075-1.1.APP.SHORT.NOTICE
       Case 2:23-bk-10990-SK                     Doc 304 Filed 08/28/23 Entered 08/28/23 16:44:02                                         Desc
                                                  Main Document     Page 3 of 6


                  Declaration of Jeffrey P. Nolan in Support of Application For Order Setting
         Hearing On Shortened Notice on the Motion of Chapter 11 Trustee, for Order Enforcing
                       The Automatic Stay Against The Menlo Trust and Related Relief

        I, Jeffrey P. Nolan, declare and state:

        1.         I am an attorney licensed to practice law in all the courts in the state of California and in this
                   Court. I am of counsel to the firm Pachulski Stang Ziehl & Jones LLP, proposed counsel to
                   Bradley D. Sharp, Chapter 11 Trustee of the estate of Debtor, Leslie Klein (the “Trustee”), in this
                   chapter 11 case (the “Case”). If called upon, I can and will competently testify to the facts
                   stated herein from my own personal knowledge, or from a review of the files regularly
                   maintained by the personnel of my law firm. All capitalized terms not defined herein have the
                   meaning ascribed to them in the Motion (defined below). I make this declaration in support of
                   the foregoing Application for Order Setting Hearing On Shortened Notice on the Motion of
                   Chapter 11 Trustee, for Order Enforcing The Automatic Stay Against The Menlo Trust and
                   Related Relief.

        2.        The Trustee requests that the hearing on the Motion of Chapter 11 Trustee, for Order Enforcing
                  the Automatic Stay Against the Menlo Trust and Related Relief (the “Motion”) be held on
                  September 6, 2023 at 9:00 a.m., given the matters set for hearing on that date and time
                  (including matters relating to the Menlo Trust), as follows:

                  (a) Debtor’s Motion to Set Aside Default [Docket.No. 24; Menlo v. Klein Adversary Proceeding
                       No. 23- 01152];
                  (b) Status Conference – Menlo v. Klein Adversary Proceeding No. 23-01152
                  (c) Status Conference – Klein v. Vago Adversary Proceeding No. 23-01147
                  (d) Status Conference (lead case)
                  (e) Chapter 11 Trustee’s Application To Employ Pachulski Stang Ziehl & Jones LLP As General
                       Bankruptcy Counsel Effective May 23, 2023 [Docket No. 177]; and
                  (f) First and Final Application for Compensation and Reimbursement of Expenses of Michael
                       Jay Berger [Docket No. 181]

        In the interest of economy, and in order to avoid further confusion, the Trustee believes it is in the best
        interests of the estate to have the hearing on the Motion held on September 6, 2023 at the same time
        the above-listed matters are set to be heard.


        I declare under penalty of perjury that the foregoing is true and correct.

        Executed this 28th day of August, 2023 at Los Angeles, California.


                                                             /s/ Jeffrey P. Nolan
                                                             Jeffrey P. Nolan




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December 2012                                                           Page 3                         F 9075-1.1.APP.SHORT.NOTICE
       Case 2:23-bk-10990-SK                   Doc 304 Filed 08/28/23 Entered 08/28/23 16:44:02                                         Desc
                                                Main Document     Page 4 of 6



                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                          10100 Santa Monica Boulevard, Suite 1300, Los Angeles, CA 90067

A true and correct copy of the foregoing document entitled: APPLICATION FOR ORDER SETTING HEARING ON
SHORTENED NOTICE [LBR 9075-1(b)] will be served or was served (a) on the judge in chambers in the form and
manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
August 28, 2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

                                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) August 28, 2023, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.


                                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) August 28, 2023, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.


                                                                                           Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 August 28, 2023              Rolanda Mori                                                     /s/ Rolanda Mori
 Date                         Printed Name                                                      Signature




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December 2012                                                         Page 4                         F 9075-1.1.APP.SHORT.NOTICE
Case 2:23-bk-10990-SK        Doc 304 Filed 08/28/23 Entered 08/28/23 16:44:02      Desc
                              Main Document     Page 5 of 6



                                                                       In re Leslie Klein
                                                                            23-10990-SK
                                     SERVICE LIST

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

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   United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
   Michael L Wachtell mwachtell@buchalter.com


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Case 2:23-bk-10990-SK          Doc 304 Filed 08/28/23 Entered 08/28/23 16:44:02                  Desc
                                Main Document     Page 6 of 6



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    cavila@elkinskalt.com;lwageman@elkinskalt.com;1648609420@filings.docketbird.com



3   SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL

 Via Federal Express                                             Via Federal Express
 Honorable Sandra R. Klein                                       The Honorable Anna Marie Luna
 United States Bankruptcy Court/Central District of California   Superior Court of the State of CA
 Edward R. Roybal Federal Building and Courthouse                County of Los Angeles, Probate Dept 3
 255 E. Temple Street, Suite 1582 / Courtroom 1575               111 North Hill Street
 Los Angeles, CA 90012                                           Los Angeles, CA 90012

 Via Federal Express                                             Via Federal Express
 Donald L. Saltzman                                              Attys for Co-Trustee Jeffrey Winter and
 A Professional Law Corporation                                  Frank Menlo as Co-Trustee
 10537 Butterfield Road                                          Alex Weingarten, Esq.
 Los Angeles, CA 90064                                           Wilkie Farr & Gallagher LLP
                                                                 2029 Century Park East
                                                                 Los Angeles, CA 90067-2905




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